  Case 15-42604       Doc 63   Filed 07/01/16 Entered 07/01/16 08:50:05                 Desc Main
                                 Document      Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )               BK No.:      15-42604
Geoffrey Laurence Gephart and Janelle         )
Marie                                         )               Chapter: 13
Gephart                                       )
                                                              Honorable Janet S. Baer
                                              )
                                              )
               Debtor(s)                      )

                                        Order Confirming Plan

         The plan under Chapter 13 of the Bankruptcy code, filed as docket No. 61, having been found
by the Court to comply with the provisions of the 11 U.S.C. section 1325, THE PLAN IS HEREBY
CONFIRMED.

All property of the estate, as specified by the 11 U.S.C. section 541 and 1306, will continue to be
property of the estate following confirmation, unless (1) the plan provides for surrender of the property,
or (2) the property is sold pursuant to the plan or court order.




                                                           Enter:


                                                                    Honorable Janet S. Baer
Dated: June 30, 2016                                                United States Bankruptcy Judge
